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                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF PENNSYLVANIA


YVONNE LeBLANC
Pottstown, PA 19464

                              Plaintiff,
                                                     CIVIL ACTION NO.
               v.

THE HILL SCHOOL                                      JURY TRIAL DEMANDED
717 E. High Street
Pottstown, PA 19464

                              Defendant.


                                           COMPLAINT

   I.   INTRODUCTION

        Plaintiff, Dr. Yvonne LeBlanc, brings this action against her current employer, The Hill

School ("Defendant").     Dr. LeBlanc has been subjected to a hostile work environment and

relentless campaign of retaliatory actions by Defendant because she has complained on several

occasions about sex and age discriminatory       conduct by Defendant.      Dr. LeBlanc, who is

currently sixty-four (64) years old, has been stonewalled, isolated, and targeted by Defendant

The Hill School because of her sex and age and complaints of discrimination on the basis of the

same. Further, after being told that she is not the "future of the school" and "in the way," Dr.

LeBlanc has been notified that her contract for the upcoming school year has not been renewed

for the first time in fourteen (14) years.      Accordingly,   Dr. LeBlanc's     employment   with

Defendant The Hill School is coming to an unceremonious end in June 2014, serving as the final

act of retaliation by Defendant The Hill School against Plaintiff Dr. LeBlanc.

        Plaintiff has been subjected to a hostile work environment, discriminated against on the

basis of her sex and age, and retaliated against because of her complaints of discrimination in
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violation of Title VII of the Civil Rights Act of 1964, as amended, 42 V.S.c. §2000e, et seq.

("Title VII"), the Age Discrimination in Employment Act, as amended, 29 U.S.c. §621, et seq.

("ADEA"), and the Pennsylvania Human Relations Act, as amended, 43 P.S. §951, et seq.

("PHRA").

          Plaintiff   seeks all damages,    including    economic      loss, compensatory   and punitive

damages, and all other relief under applicable federal and state law as this Court deems

appropriate.

    II.        PARTIES

          1.      Plaintiff,   Dr. Yvonne LeBlanc,       IS   a female individual    and citizen of the

Commonwealth of Pennsylvania.

          2.      Plaintiff is currently sixty-four (64) years old.

          3.      Defendant The Hill School is a preparatory boarding school with a principal place

of business at 717 E. High Street, Pottstown, PA 19464.

          4.      Defendant is engaged in an industry affecting interstate commerce and regularly

conducts business in the Commonwealth of Pennsylvania.

          5.      At all times material hereto, Defendant was acting by and through authorized

agents, servants, workmen and/or employees acting within the course and scope of their

employment or agency with Defendant.

          6.      At all times material hereto, Defendant             employed   more than twenty (20)

individuals.

          7.      Defendant is an employer within the meaning of the statutes that form the basis of

this matter.

          8.      At all times material hereto, Plaintiff was an employee of Defendant within the



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meaning of the statutes that form the basis of this matter.

    III.         JURISDICTION AND VENUE

           9.       The causes of action that form the basis of this matter arise under Title VII, the

ADEA and the PHRA.

           10.      The District Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C.

§2000e-5 and 28 U.S.C. §1331.

           11.      The District Court has jurisdiction over Count II (ADEA) pursuant to 29 U.S.C.

§626(c) and 28      u.s.c.   §1331.

           12.      The District Court has supplemental jurisdiction over Count III (PHRA) pursuant

to 28 U.S.C. §1367.

           13.      Venue is proper in the District Court under 28 U.S.C. §1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred within this District.

           14.      On or about July 10, 2012 Plaintiff filed a Charge of Discrimination with the

Equal      Employment        Opportunity    Commission     ("EEOC"),   complaining   of   the   acts    of

discrimination      alleged herein.    This Charge was cross-filed with the Pennsylvania        Human

Relations Commission ("PHRC").             Attached hereto, incorporated herein and marked as Exhibit 1

is a true and correct copy of the EEOC Charge of Discrimination.

           15.      On or about August 8, 2012, Plaintiff filed an amended second Charge of

Discrimination with the EEOC, complaining of the acts of discrimination and retaliation alleged

herein.    This Charge was cross-filed with the PHRC. Attached hereto, incorporated herein and

marked as Exhibit 2 is a true and correct copy of that EEOC Charge of Discrimination                   and

Retaliation.

           16.     On or about March 17, 2014, the EEOC issued to Plaintiff a Notice of Right to



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Sue (Issued on Request) pertaining to each of the above-mentioned EEOC Charges.               Attached

hereto, incorporated herein and marked as Exhibit 3 and Exhibit 4 are true and correct copies of

those notices.

          17.      Plaintiff   has fully complied   with all administrative   prerequisites    for the

commencement of this action.

    IV.         FACTUAL ALLEGATIONS

          18.      Dr. Yvonne LeBlanc was born on August 4, 1949.

          19.      She received an M.A. and Ph.D. in French Literature from New York University,

and has been an educator her entire adult-life.

          20.      From 1977 until 2000, Dr. LeBlanc worked as a teacher at several prestigious

preparatory schools and as an adjunct and assistant professor at universities and colleges in New

York and South Carolina.

          21.      Dr. LeBlanc has over thirty-five (35) years of experience in secondary and

college-level French language instruction encompassing all age groups from sixth grade through

college and in a variety of settings ranging from culinary to preparatory schools.

          22.      Dr. LeBlanc was hired by Defendant The Hill School in 2000 as a French

Instructor.     At the time, Dr. LeBlanc was fifty (50) years old. She was also the only teacher

within the Modern Language Department of Defendant The Hill School to have a doctorate

degree.

          23.      Defendant The Hill School is a private boarding high school        III   Pottstown,

Pennsylvania with around 500 students and over 100 employees.

          24.     In addition to her teaching duties at Defendant The Hill School, Dr. LeBlanc was

a prolific presenter at international and national conferences, reviewer of articles on medieval



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and early-modem poetry, and a reader for the annual Advanced Placement ("AP") French exam

given to high school students across the country.

        25.      By way of further example of Dr. LeBlanc's         success as an instructor with

Defendant The Hill School, in 2011 Dr. LeBlanc received a $10,000 stipend to spend the

summer working and writing in France, which was based on her merit and tenure with the

school. Dr. LeBlanc was also the winner of a seminar award given by the National Endowment

for the Humanities.

       26.       Throughout her tenure at Defendant The Hill School, Dr. LeBlanc immersed

herself into the community of this preparatory boarding school.         By way of example, Dr.

LeBlanc lived on campus and served for nine (9) years as a dorm parent for a female dorm. Dr.

LeBlanc coached intramural sports, managed students in the dining room, performed weekend

duties, and worked shifts at the campus library in addition to maintaining her teaching duties.

       27.       From 1993 until June 2012, the Headmaster for Defendant The Hill School was

David R. Dougherty.

       28.       From her date of hire in 2000 until February 2012, Dr. LeBlanc had never

received a negative performance review from Defendant The Hill School.         She had never been

placed on a performance improvement plan, given a written disciplinary notice, or notified that

her performance was deficient.

       29.      Rather, during these years Dr. LeBlanc was often praised for her leadership skills,

her creativity in the classroom, her willingness to incorporate new technologies into her teaching,

the passage rates of her students on the French AP exam, and her value to the community.

       30.      For each academic year, until the 2014-2015 academic year, Dr. LeBlanc's yearly

contract was renewed and she consistently received salary increases and many responsibilities on



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campus and within the Modem Language Department.

        31.      On or about February 24, 2012, Dr. LeBlanc received notification for the first

time in her career at Defendant The Hill School that she would be placed on probation for the

upcoming academic year.

        32.      At that point, Dr. LeBlanc was sixty-two (62) years old and had been an employee

of Defendant The Hill school for over one (1) decade.

        33.      Dr. LeBlanc protested to Headmaster       Dougherty at this February 24, 2012

meeting that the alleged reasons for placing her on probation were false, inaccurate, and biased.

        34.      By way of example, Dr. LeBlanc was castigated in her probation letter for

allegedly refusing to take on non-teaching assignments within the community.          However, as

noted above, Dr. LeBlanc had been an active member at Defendant The Hill School for over ten

(10) years, serving as a dorm parent, intramurals coach, working nights in the library, and doing

weekend extracurricular duties with the students.

        35.      Dr. LeBlanc further complained that she felt singled-out by Defendant The Hill

School, and that this harassment was due to her sex and age.

        36.      On March 17, 2012, Dr. LeBlanc submitted a rebuttal letter to Headmaster

Dougherty, carefully responding to each point raised in the February 24,2012 probation letter.

        37.      Dr. LeBlanc stated in the very first sentence of her rebuttal letter that she felt

targeted because of her sex and age.

       38.       Dr. LeBlanc provided Headmaster Dougherty with several examples that formed

the basis for her belief that she was being discriminated against.

       39.       For example, Dr. LeBlanc stated that for the 2011-2012 academic year, the AP

French course that she had taught for years had been taken away from her and given to a



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younger, male teacher with less experience.                 She noted that she was the only member of the

Modem Language Department who had been involuntarily removed from a course previously

taught.

           40.      Notwithstanding her feeling that she was being bullied, Dr. LeBlanc accepted the

teaching assignments she was given by the Chair of the Department, Joseph Lagor, a male who is

substantially younger than Dr. LeBlanc.

           41.      By way of further example, Dr. LeBlanc was inappropriately criticized in her

probation letter for having fewer students than other teachers within the Department.               However,

as she explained in her rebuttal letter, Dr. LeBlanc actually taught more students than Blair

Barnes, a younger, male teacher within the Department.

           42.      Dr. LeBlanc specifically noted in her rebuttal letter that she felt that the standards

for men and women are different in the Modem Language Department.

           43.      By way of further example, Dr. LeBlanc recounted a recent incident involving the

Dean of the Faculty, Thomas Johnson, that she complained to Headmaster Dougherty about in

October 2011 shortly after the incident occurred and again in her rebuttal letter.               Dr. LeBlanc

reiterated that earlier that school year, Mr. Johnson, who was only thirty-three (331) years old,

called Dr. LeBlanc into his office and asked her about her health and age. After Dr. LeBlanc

responded that she was sixty-two (62) years old, Mr. Johnson replied that she "looked good for

her age."

           44.      Dr. LeBlanc complained to Headmaster Dougherty (in person and in writing) that

Mr. Johnson's questions and comment humiliated and embarrassed her.

           45.      Upon     information      and belief,       Headmaster   Dougherty   never conducted   an

investigation into Mr. Johnson's age-based comments, never counseled or reprimanded him for

1   Ages contained herein are approximates.

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his conduct, and never apologized to Dr. LeBlanc for the Dean of Faculty's inappropriate

behavior.

       46.      Further, Headmaster    Dougherty noted on February 24, 2012 that he would

consider withdrawing the probation, and Dr. LeBlanc specifically requested the withdrawal in

person and in writing.

       47.      However,   after receiving   Dr. LeBlanc's   March   17, 2012 rebuttal    letter,

Headmaster Dougherty told Dr. LeBlanc that he would not rescind the probationary status for the

2012-2013 academic year.

       48.      As a result of being placed on probation, Dr. LeBlanc was ineligible for a 3%

raise in her next yearly contract, which was renewed for the 2012-2013 academic year.

       49.      A few months later, in or around June 2012, Headmaster Dougherty was replaced

by Zachary Lehman, a forty (40) year-old man who was hired as the new Headmaster of

Defendant The Hill School.

       50.      Around this same time, on or about July 10, 2012, Dr. LeBlanc filed her first

Charge of Discrimination with the EEOC, complaining of the acts of discrimination on the basis

of age and sex as described above.

       51.      Weeks later, on July 28, 2012, Dr. LeBlanc received a threatening email from

Headmaster Lehman, where he noted that although Dr. LeBlanc already had a contract for the

2012-2013 school year, her employment was at-will.

       52.     Headmaster Lehman further instructed that if Dr. LeBlanc did not respond to this

email by 5:OOpmon July 31, 2012, she would be considered to have abandoned her employment

and would potentially be in breach of her contract.

       53.     At that point, Dr. LeBlanc had a contract for the upcoming year and did not



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indicate that she was interested in leaving her employment with Defendant The Hill School.

        54.       Headmaster Lehman concluded that the school would waive its breach of contract

claim against Dr. LeBlanc (which was only being discussed to intimidate Dr. LeBlanc) only if

she withdrew her state and federal claims of age and sex discrimination with prejudice.

        55.       Upon information and belief, no other employee of Defendant The Hill School

was reminded of their at-will employment status in this way or threatened with a potential breach

of contract claim.

        56.       Thereafter, on or about August 20, 2012, Dr. LeBlanc filed a second Charge of

Discrimination and Retaliation with the EEOC, complaining that Defendant The Hill School was

retaliating against and bullying her for complaining of age and sex discrimination.

        57.       Upon information and belief, no investigation was done into the complaints Dr.

LeBlanc raised about discrimination and retaliation.   In fact, no representative of Defendant The

Hill School, such as an employee within Human Resources ("HR"), ever interviewed Dr.

LeBlanc or followed up with her about the facts she raised.

        58.       Despite the acrimonious   environment   created by the new Headmaster,      Dr.

LeBlanc returned to Defendant The Hill School for the 2012-2013 school year per her contract,

and was subsequently taken off of probation in or around December 2012.

        59.       Throughout the 2012-2013 school year, Dr. LeBlanc was never informed that her

behavior or conduct did not meet the school's expectations or requirements.

        60.       On or about March 22, 2013, Headmaster Lehman called Dr. LeBlanc into his

office and offered her an early retirement package.    At this point, Dr. LeBlanc was sixty-three

(63) years old.

       61.        Headmaster Lehman informed Dr. LeBlanc that he recently hired the wife of a



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current teacher (age 38), and he wanted to hire an additional language teacher who was a young

male in his late twenties, but he could not do so if Dr. LeBlanc remained with the school per her

2013-2014 contract (which was renewed for one (1) year in or around January 2013).

           62.      Headmaster   Lehman told Dr. LeBlanc that these two (2) younger teachers

represented the "future of the school" and that Dr. LeBlanc was "in the way."

           63.      Dr. LeBlanc rejected the early retirement package because she was not ready to

retire, and instead notified Defendant The Hill School that she intended to return for the 2013-

2014 academic year per her contract.

           64.      Dr. LeBlanc told Headmaster Lehman (in person and in writing) that she felt

pressured and bullied with regard to the early retirement package and Headmaster Lehman's

statements that Dr. LeBlanc, an older woman, was "in the way" and not the "future of the

school."

           65.      Thereafter, on or about April 4, 2013, Defendant The Hill School notified Dr.

LeBlanc that the school's administrative and departmental personnel concluded that it was not

possible to deal directly with Dr. LeBlanc "because of her constant accusations and distortions"

of communications and actions. Accordingly, Defendant The Hill School instructed Dr. LeBlanc

that all communications must take place through Defendant's HR department.

       66.          Upon information and belief, no other employee of Defendant The Hill School

had been placed on this type of unfair and unworkable condition.

       67.          On or around April 26, 2013, Dr. LeBlanc filed a third Charge of Discrimination

and Retaliation with the EEOC.

       68.          Dr. LeBlanc specifically complained that she was being further discriminated

against because of her age and sex and retaliated against for raising these concerns.



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        69.       On or about January 22, 2014, Defendant The Hill School notified Dr. LeBlanc

that her contract would not be renewed for the 2014-2015 academic year.

        70.       At that point, Dr. LeBlanc was sixty-four (64) years old and an employee of

Defendant The Hill School for fourteen (14) years.

        71.       The reasons given for not renewing Dr. LeBlanc's contract were pretextual and in

retaliation against Dr. LeBlanc for engaging in protected activity.

        72.       Plaintiff's   sex was a motivating           and/or determinative         factor in Defendant's

discriminatory treatment of Plaintiff, in the creation of a hostile work environment to which

Plaintiff was subjected, and in the non-renewal of Plaintiff's contract.

        73.       Plaintiff's   age was a motivating           and/or determinative         factor in Defendant's

discriminatory treatment of Plaintiff, in the creation of a hostile work environment to which

Plaintiffwas subjected, and in the non-renewal of Plaintiff's contract.

        74.       Plaintiff's complaining of discrimination and a hostile work environment was a

motivating and/or determinative factor in Defendant's discriminatory and retaliatory treatment of

Plaintiff, in the perpetuation of the hostile work environment to which Plaintiff was subjected,

and in the non-renewal of Plaintiff's contract.

        75.       Defendant     failed to prevent    or address the harassing,                discriminatory,   and

retaliatory conduct referred to herein and further failed to take corrective and remedial measures

to make the workplace free of harassing, discriminatory and retaliatory conduct.

        76.       The    retaliatory   actions   taken        against   Plaintiff   after    she   complained    of

discriminatory conduct would have discouraged a reasonable employee from complaining of

discrimination.

        77.       As a direct and proximate result of the discriminatory and retaliatory conduct of



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Defendant, and the hostile work environment to which she was subjected, Plaintiff has in the past

incurred, and may in the future incur, a loss of earnings and/or earning capacity, loss of benefits,

pain and suffering, embarrassment, humiliation, loss of self-esteem, mental anguish, and loss of

life's pleasures, the full extent of which is not known at this time.

        78.      The conduct of Defendant, as set forth above, was severe and/or pervasive enough

to make a reasonable person believe that the conditions of employment are altered and the

working environment is hostile or abusive.

        79.      The conduct of Defendant,        as set forth above, was outrageous      under the

circumstances,    was done by and with knowledge          of upper management,     and warrants the

imposition of punitive damages against Defendant.

        80.      The conduct of Defendant, as set forth above, was willful and intentional.

                                        COUNT I - TITLE VII

        81.      Plaintiff incorporates herein by reference paragraph 1 through 80 above, as if set

forth herein in their entirety.

        82.      Plaintiffs   sex and complaint of sex discrimination was a substantial, motivating,

and/or determinative factor in connection with Defendant's treatment of her.

        83.      By committing the foregoing acts of harassment, discrimination, and retaliation

against Plaintiff for complaining of sex discrimination, Defendant has violated Title VII.

        84.      Said violations were willful and intentional and warrant the imposition of punitive

damages.

        85.      As a direct and proximate result of Defendant's violation of Title VII, Plaintiff

has suffered the damages and losses set forth herein and has incurred attorneys' fees and costs.

        86.      Plaintiff is now suffering and will continue to suffer irreparable injury and



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monetary damages as a result of Defendant's discriminatory and retaliatory acts unless and until

this Court grants the relief requested herein.

        87.      No previous application has been made for the relief requested herein.

                                          COUNT II - ADEA

        88.      Plaintiff incorporates herein by reference paragraph 1 through 87 above, as if set

forth herein in their entirety.

        89.      Plaintiffs   age was a substantial,    motivating,   and/or determinative   factor   III


connection with Defendant's treatment of her.

        90.      By committing the foregoing acts of harassment, discrimination, and retaliation

against Plaintiff on the basis of her age and complaints of the same, Defendant has violated the

ADEA.

        91.      Said violations were willful and warrant the imposition of liquidated damages.

        92.      As a direct and proximate result of Defendant's violation of the ADEA, Plaintiff

has suffered the damages and losses set forth herein and has incurred attorneys' fees and costs.

        93.      Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant's discriminatory and retaliatory acts unless and until

this Court grants the relief requested herein.

                                          COUNT III - PHRA

        94.      Plaintiff incorporates herein by reference paragraphs 1 through 93 above, as if set

forth herein in their entirety.

        95.      Plaintiffs   sex and complaint of sex discrimination was a substantial, motivating,

and/or determinative factor in connection with Defendant's treatment of Plaintiff.

        96.      Plaintiffs   age and complaint of age discrimination was a substantial, motivating,



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and/or determinative factor in connection with Defendant's treatment of Plaintiff.

        97.     By committing the foregoing acts of harassment, discrimination and retaliation,

Defendant has violated the PHRA.

        98.     As a direct and proximate result of Defendant's violation of the PHRA, Plaintiff

has sustained the injuries, damages, and losses set forth herein and has incurred attorneys' fees

and costs.

        99.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant's         discriminatory acts unless and until this Court

grants the relief requested herein.

        100.    No previous application has been made for the relief requested herein.

                                               RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

Plaintiff Yvonne LeBlanc and against Defendant The Hill School. Plaintiff seeks damages and

legal and equitable relief in connection with Defendant's           improper conduct, and specifically

prays that this Court grant the following relief to Plaintiff by:

    (a) declaring the acts and practices complained of herein to be in violation of Title VII;

    (b) declaring the acts and practices complained of herein to be in violation ofthe ADEA;

    (c) declaring the acts and practices complained of herein to be in violation of the PHRA;

    (d) enjoining and permanently restraining the violations alleged herein;

   (e) entering judgment     against Defendant and in favor of Plaintiff in an amount to be

       determined;

   (f) awarding compensatory damages to make Plaintiff whole for all lost earnings, earning

       capacity and benefits, past and future, which Plaintiff has suffered or may suffer as a



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   result of Defendant's improper conduct;

(g) awarding compensatory damages to Plaintiff for past and future pain and suffering,

   emotional upset, mental anguish, humiliation, and loss of life's pleasures, which Plaintiff

   has suffered or may suffer as a result of Defendant's improper conduct;

(h) awarding punitive damages to Plaintiff under Title VII;

(i) awarding liquidated damages to Plaintiff under the ADEA;

(j) awarding Plaintiff such other damages as are appropriate under Title VII, the ADEA and

   the PHRA;

(k) awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable

   attorneys' fees; and

(1) granting such other and further relief as this Court may deem just, proper, or equitable

   including other equitable and injunctive relief providing restitution for past violations and

   preventing future violations.




                                                          CONSOLE LAW OFFICES LLC


Dated:      March 20,2014                           By:
                                                          Stephen G. Console
                                                          Rahul Munshi
                                                          1525 Locust St., Ninth Floor
                                                          Philadelphia, PA 19102
                                                          (215) 545-7676
                                                          (215) 814-8920 (fax)

                                                          Attorneys for Yvonne LeBlanc




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 EXHIBIT 1
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                              CHARGE OF DISCRIMINATION                                                         AGENCY                  CHARGE NUMBER
                                                                                                                     FEPA
This form is affected by the Privacy Act of 1974; See privacy statement                        before          X    EEOC
consolidating this form.                                                                                                       530 - 20\2 -032...50
             STATE OR LOCAL AGENCY:                                       PHRC
NAME        (Indicate     Mr.,   Ms.,   Mrs.)                                                HOME     TELEPHONE          NUMBER        (Include Area Code)
Yvonne LeBlanc




-
STREET        ADDRESS



NAMED IS THE EMPLOYER,
LOCAL GOVERNMENT

NAME
The Hill School
                       LABOR ORGANIZATION,
                  WHO DISCRIMINATED
                                            EMPLOYMENT
                                                                  CITY,    STATE



                                                            AGENCY, APPRENTICESHIP,
                                    AGAINST ME (If more than one than list below)
                                                                                    AND ZIP
                                                                   Pottstown, PA 19464



                                                                   NUMBER OF EMPLOYEES, MEMBERS
                                                                          -100
                                                                                                                      TELEPHONE
                                                                                                                                DATE

                                                                                                                                 2


                                                                                                                      610.326.1000
                                                                                                                                         OF BI RTH



                                                                                                                                            COMMITIEE,


                                                                                                                                       (Include Area Code)
                                                                                                                                                              STATE     OF




STREET        ADDRESS                                             CITY,    STATE    AND ZIP                                    COUNTY
717 East Hlah Street                                                   Pottstown, PA 19464                                     Montgomery
CAUSE        OF DISCRIMINATION                     (Check appropriate         box(es))                        DATE DISCRIMINATION           TOOK PLACE
    Race Color XX Sex     Religion     National Origin
     XX Retaliation XX Age     Disability Other (Specify)                                                     Earliest                               Latest

                                                                                                               XX Continuing Violation
THE PARTICULARS                         ARE:

A.          1. Relevant Work History

I was hired by Respondent in 2000 as a French Teacher. While I initially reported to Glen Eshbach,
Language Department Chair, in or around 2007, I commenced reporting to Joe Lager (50},*the
Language Department Chair. Mr. Lagor reported to David Dougherty, Head Master (65), until June,
2012. Mr. Lagor now reports Zach Lehman (40), the current Head Master. Thomas Johnson (33), the
Dean of Faculty, who was hired as a teacher in 2000 and became a dean in 2011, also reported to
Mr. Dougherty and currently reports to Mr. Lehman.

*AII ages herein are approximate.


~I want this charge filed with both the EEOC and the State or local Agency,                         NOTAR Y - (when necessary tor State and Local Requirements)
ifany. 1 will advise the agencies if I change my address or telephone number
and cooperate fully with them in the processing of my charge in accordance                          I swear of affirm that I have read the above charge lind that it is true
with their procedures                    ,.
                                                                                                    to the best of my knowledge information and belief.
I declareu~er penalty or reo      U'J~~tt~--"rc~!pg         is true andcorrect.
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                '                Charging {'!ar(y (SiglUl/ure)
                                                                                     SlJBSCKIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                     (Day Month, and year)
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                                  EEOC Charge of Discrimination
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                                Yvonne LeBlanc v. The Hill School

     Throughout my twelve (12) years of employment with Respondent, I have been a loyal,
     dedicated and hard-working employee. I have represented Respondent at numerous
     local, national, and international professional conterences. 1 am a recipient of a National
     Endowment for the Humanities seminar award and in my yearly performance reviews I
~.. =corrststently received positive evaluations. In Summer, 2011, I received a $10,900
     summer sabbatical award to pursue my French studies and in recognition of teaching
     and my years of service.

     2.     Harm Summary

            I believe that Respondent discriminated against me based on my age and sex
            and combination age/sex. Evidence of discriminatory conduct includes, but is not
            limited to, the following:

            a) I am one of the oldest of the eight (8) teachers that report to Mr. Lagor and
               the only one to hold a doctorate degree.

            b) Mr. Lagor removed me from my Advanced Placement French course and
               gave this course to a substantially younger, less qualified, male teacher, who
               did not request to teach the same. This younger male teacher now teaches all
               three Advanced Placement courses in both French and Spanish. In contrast,
               the male Chinese teacher who has taught the Advanced Placement Chinese
               course since its inception has never been removed from this course, despite
               the fact that there was a female Chinese teacher qualified to teach the same.

            c) During a conversation about my non-residential faculty responsibilities, Mr.
               Johnson asked me how old I was and told me that I "looked good for my age."

            d) I went to Mr. Dougherty and complained to Mr. Dougherty that Mr. Johnson
               made age-based comments.

            e) On February 24, 2012, I met with Mr. Dougherty where he informed me that I
               was being placed on probation for the entire 2012-2013 academic year and
               would not receive the base 3% raise allocated for all faculty members. I
               believe this letter is unfair and factually inaccurate and told Mr. Dougherty the
               same during this meeting.

            f)   On February 29,2012, I met again with Mr. Dougherty, at which point he told
                 me that he was open to rescinding the probation. I told him that I would write
                 a response with documentation that would invalidate the allegations in the
                 February 24th letter.

            g) On March 17,2012, I emailed a detailed response, with attachments, to Mr.
               Dougherty to rebut the February 24th probation notice that I had received. In
               this letter, I complained of age and sex-based discriminatory conduct.
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      h) I received no response to my March 17, 2012 letter, other than a brief
         conversation with Mr. Dougherty on or about April 5,2012, in which he told
         me that he did not see any discrimination in my situation and my probation
         would not be rescinded.

      i)   To the best of my knowledge, Respondent has not investigated my
           complaints of age and sex-based discrimination.

      j)   Respondent has a pattern and practice of discriminating against employees
           on the basis of age and sex and combination of age/sex. Evidence of this
           discrimination includes, but is not limited to the following:

                   i.   When I commenced working at Respondent, there were nine (9) full
                        time faculty teachers in my department, of which five (5) were
                        female and four (4) were male. Under Mr. Lagor, for the academic
                        year 2012-2013, there will be five (5) male faculty teachers and two
                        (2) female faculty members - myself and an approximately twenty-
                        five (25) year old faculty teacher.

                   ii. The other two (2) female full time faculty members that are not
                   returning to Respondent are sixty-two (62) years of age and fifty (50)
                   years of age.


B.            1.        Respondent's Stated Reasons

                               a) Respondent's alleged reason for my probation was my
                                  alleged "Refusal to Take on Assignments;" "Resistance
                                  to Undertaking Other Assignments;" and "Poor Relations
                                  with Department Chair."

                               b) Respondent has not offered any further explanation of its
                                  reason for placing me on probation;

                               c) Respondent's stated reasons for my probation are
                                  pretextual;

                               d) Respondent has not offered any explanation for the age
                                  and sex based discriminatory treatment to which I have
                                  been subjected

                               e) Respondent has not offered any explanation for the
                                  hostile work environment based on my age, sex, and a
                                  combination of age and sex to which I have been
                                  subjected;
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                         f)   Respondent has not offered any explanation for its failure
                              to investigate my complaints of age and sex
                              discrimination; and

                         g) Respondent has not offered any explanation for its
                            retaliatory treatment of me.


C.           1.   Statutes and Basis for Allegations

                    I believe that Respondent has discriminated against me and
           subjected me to a hostile work environment based on my sex (female) and
           my age (62) and a combination of my sex/age, in violation of Title VI.I of
           the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq. ("Title
           VII"), the Age Discrimination in Employment Act, as amended, 29 U.S.C.
           §621 , et seq. ("ADEA") and the Pennsylvania Human Relations Act, as
           amended,43 P.S. §951, et seq. (UPHRA").
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  EXHIBIT 2
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     AMENDED              SECOND            CHARGE OF DISCRIMINATION                           AGENCY                  CHARGE NUMBER
                                                                                                    FEPA
This form is affected by the Privacy Act of 1974; See privacy statement before                 X    EEOC
consolidating this form.                                                                                         j20       -2.0\2 -037         30
                 STATE OR LOCAL AGENCY: PHRC
NAME (Indicate Mr., Ms., Mrs.)
Yvonne LeBlanc
STREET ADDRESS


NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP,                                               COMMITIEE,       STATE OF
LOCAL GOVERNMENT WHO DISCRIMINATED AGAINST ME (If more than one than list below)

NAME                                                           NUMBER OF EMPLOYEES, MEMBERS          TELEPHONE (Include Area Code)
The Hill School                                                       -100                           610.326.1000
STREET ADDRESS                                                CITY, STATE AND ZIP                             COUNTY
717 East High Street                                               Pottstown, PA 19464                        Montgomery
CAUSE OF DISCRIMINATION (Check appropriate box(es))                                          DATE DISCRIMINATION TOOK PLACE
 Race  Color XX Sex    Religion     National Origin
  XX Retaliation XX Age     Disability Other (Specify)                                       Earliest                              Latest

                                                                                              xx    Continuing Violation
THE PARTICULARS                      ARE:

A.        1. Relevant Work History

 I was hired by Respondent in 2000 as a French Teacher. While I initially reported to Glen Eshbach,
Language Department Chair, in or around 2007, I commenced reporting to Joe Lagor (50),* the
Language Department Chair. Mr. Lagor reported to David Dougherty, Head Master (65), until June,
2012. Mr. Lagor now reports Zach Lehman (40), the current Head Master. Thomas Johnson (33),
the Dean of Faculty, who was hired as a teacher in 2000 and became a dean in 2011, also reported
to Mr. Dougherty and currently reports to Mr. Lehman.

*AII ages herein are approximate.


~ want this charge filed with both the EEOC and the State or local Agency,         NOTARY - (when necessary for State and Local Requirements)
if any. I will advise the agencies if [ change my address or telephone number
and cooperate fully with them in the processing of my charge in accordance         I swear of affirm that [ have read the above charge and that it is true
with their procedures                                                              to the best of my knowledge information and belief.
I declare under penalty or perjury that the foregoing is true and correct.
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     Throughout my twelve (12) years of employment with Respondent, I have been a loyal,
     dedicated and hard-working employee. I have represented Respondent at numerous
     local, national, and international professional conf~rences."lam a recipient of a
     National Endowment for the Humanities seminar award and in my yearly performance
     reviews I ~onsistE?ntlyreceived positive evaluations. In Summer, 2011,.1 received a
, ·'::$1 O,ODnslfrnrne~sabbatical award to pursue my French studies and in~recognition of
     teaching and my years of service.

  I filed a Charge of Discrimination with the EEOC on July 10,2012 regarding the
  discrimination based on my age and sex and combination age/sex, to which I was
  subjected. A copy of that Charge was sent to Respondents on that day.

  Since filing my Charge of Discrimination, I have been subjected to additional retaliatory
  conduct.


  2.     Harm Summary

         Evidence of Respondent's continued retaliatory conduct includes, but is not
         limited to, the following:

         a) After I filed a Charge of Discrimination, Respondent unilaterally imposed on
            me additional teaching and extra-curricular responsibilities for the 2012-2013
            school year. By doing so, Respondent failed to meet their obligations as set
            forth in my February 27,2012 Contract.

                i.        This Contract states that any teaching and extra-curricular
                          responsibilities would be mutually agreed upon.

         b) To the best of my knowledge, Respondent has met their contractual
            obligations with regard to other faculty members who have not filed charges
            of discrimination.

         c) In all the years prior to my filing a Charge of Discrimination, Respondent has
            met its contractual obligations in ensuring that my teaching and extra-
            curricular responsibilities for the upcoming year are mutually agreed upon.

         d) On July 28,2012, two weeks after I filed my Charge of Discrimination,
            Zachary Lehman, Headmaster of Respondent, sent me a threatening email.

                     i.      In this email Mr. Lehman repeatedly stated that he required my
                             confirmation that I would be returning for the school year. Mr.
                             Lehman stated that if I did not confirm that I would return under
                             the conditions unilaterally imposed upon me, I would be in
                             breach of my contract.
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                        Yvonne LeBlanc v. The Hill School

                  ii.       In this email.Mr. Lehman "remind[ed me] that [my] employment
                            is at will."

                  iii.      To the best of my knowledge, Mr. Lehman did not require
                            faculty members who did not file charges of discrimination, to
                            confirm that they would be returning for the 2012-2013 school
                            year.

                  iv.       To the best of my knowledge, Mr. Lehman did not "remind" the
                            faculty members who did not file charges of discrimination that
                            their respective employments are at will.

     e) After I sent an email reply to Mr. Lehman's aforementioned email.Mr.
        Lehman sent me another email in which his tone was hostile and dismissive.


B.         1.            Respondent's   Stated Reasons

                               a) Respondent has not offered any explanation for its
                                  continued retaliatory treatment of me.


c.           1.          Statutes and Basis for Allegations

                  I believe that Respondent has discriminated against me and
           subjected me to a hostile work environment based on my sex (female) and
           my age (62) and a combination of my sex/age, and retaliated against me
           for complaining of the same, in violation of Title VII of the Civil Rights Act
           of 1964, as amended, 42 U.S.C. §2000e, et seq. ("Title VII"), the Age
           Discrimination in Employment Act, as amended, 29 U.S.C. §621, et seq.
           (UADEA")and the Pennsylvania Human Relations Act, as amended, 43
           P.S. §951, et seq. (UPHRA").
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 EXHIBIT 3
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                                         U.S. Equal Employment Opportunity Commission
EEOC Form 161·B (10/96)




                                                 NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)

                    To:      Yvonne LeBlanc                                                    From: Equal EmploymentOpportunityCommission
                                                                                                     PhiladelphiaDistrictOffice
                             Pottstown, PA 19464                                                     801 MarketStreet, PH Suite 1300
                                                                                                     Philadelphia.PA 19107-3127



                          On behalf of 'personts} aggrieved whose identity is
                           CONFIDENTIAL (29 CFR § 1601.7(a))

                                                                         EEOC Representative                               Telephone No.
Charge No.
                                                                         LegalUnit                                         (215) 440-2828
530-2012-03250
(See also the additional information attached to this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This is your Notice of Right to Sue, issued
under Title VII and/or the ADA based on the above-numbered charge. It has been issued at your request. Your lawsuit under Title VII or the
ADA must be filed in federal or state court WITHIN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on this
charge will be lost. (The time limit for filing suit based on a state claim may be different.)
         X                More than 180 days have passed since the filing of this charge.
                          Less than 180 days have passed since the filing of this charge, but 1 have determined that it is unlikely that the EEOC will
                          be able to complete its administrative processing within 180 days from the filing of the charge.
         X                The EEOC is terminating its processing of this charge.
                          The EEOC will continue to process this charge.
 Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
 90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to your
 case:
         X                 The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court
                           WITHIN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will
                           be lost.
                           The EEOC is continuing its handling of your ADEA case. However, if60 days have passed since the filing of your charge,
                           you may file suit in federal or state court under the ADEA at this time.

  Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
  in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
  any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

  If you file suit based on this charge, please send a copy of your court complaint to this office.

                                                                            On behalf of the Commission


                                                           ~7Lf7f'z:Q-.Spencer H. Lewis, Jr. District Director
                                                                                                                                    31i11~)~__
                                                                                                                                            (Dale Mailed)
  Enclosure(s)


   cc:     HILL SCHOOL
           Rahul Munshi, Esq. (for Charging Party)
           Thomas 0 Rees, Esq. (for Respondent)
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 EXHIBIT 4
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                                         U.S. Equal Employment Opportunity Commission
EEOC Fonn 161-B (10/96)



                                                NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
                    To:      Yvonne LeBlanc                                                      From: Equal Employment Opportunity Commission

                            !!!!II!                                                                    Philadelphia District Office
                                                                                                       801 Market Street, PH Suite 1300
                                                                                                       Philadelphia, PA 19107-3127



                          On behalf of personts) aggrieved whose identity is
                           CONFIDENTIAL (29 CFR § J60J.7(a))

                                                                        EEOC Representative                                     Telephone No.
Charge No.

530-2012-03730                                                          Legal Unit                                              (215) 440-2828

(See also the additional information attached to this form.)
NOTICE       TO THE PERSON            AGGRIEVED:

Title VII of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This is your Notice of Right to Sue, issued
under Title VII and/or the ADA based on the above-numbered    charge. It has been issued at your request. Your lawsuit under Title VII or the
ADA must be filed in federal or state court WITHIN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on this
charge will be lost. (The time limit for filing suit based on a state claim may be different.)

         X                More than 180 days have passed since the filing of this charge.
                          Less than 180 days have passed since the filing ofthis charge, but I have determined that it is unlikely that the EEOC will
                          be able to complete its administrative processing within 180 days from the filing of the charge.

         X                The EEOC is terminating          its processing      of this charge.

                          The EEOC will continue          to process this charge.
 Age Discrimination    in Employment    Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
 90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to your
 case:
         X                 The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court
                           WITHIN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered     charge will
                           be lost.
                           The EEOC is continuing         its handling of your ADEA case. However,             if60 days have passed since the filing of your charge,
                           you may file suit in federal or state court under the ADEA at this time.


 Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
 in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
 any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

 If you file suit based on this charge, please send a copy of your court complaint to this office.




                                                                                                                                                 (Date Mailed)
  Enclosure(s)                                                        Spencer H. Lewis, Jr. District Director



  cc:     HILL SCHOOL
          Rahul Munshi, Esq. (for Charging Party)
          Thomas DRees, Esq. (for Respondent)
